         Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 1 of 13


                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                           :

               v.                                  :        CRIMINAL NO. CCB-21-107

SAURABH CHAWLA,                                    :

               Defendant.                          :

                                            ...oooOooo...

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by its counsel, Jonathan F. Lenzner, Acting United States

Attorney for the District of Maryland, and Harry M. Gruber and Paul Riley, Assistant United States

Attorneys for said District, hereby submits its Sentencing Memorandum in the above-captioned

case.

        The government respectfully requests that this Court sentence the defendant to 84 months’

incarceration, followed by three years of supervised release, and a special assessment of $100.

The government submits that this is a reasonable and necessary sentence, pursuant to the

sentencing factors articulated in 18 U.S.C. § 3553(a). Chawla’s criminal conduct was extensive,

egregious, long-lasting, financially lucrative for him, and caused substantial financial harm. The

requested sentence is warranted due to the serious nature of Chawla’s many offenses, and the need

to punish Chawla, deter future conduct by Chawla and others, and promote respect for the law.

Factual Summary

        The defendant pled guilty to three criminal offenses: (i) a conspiracy to commit wire fraud

and interstate transportation of stolen goods; (ii) interstate transportation of stolen goods; and (iii)

tax evasion. These are serious criminal offenses that warrant a significant term of incarceration.




                                                   1
           Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 2 of 13

Moreover, the essentially undisputed facts 1 demonstrate that Saurabh Chawla’s offenses involved

a sophisticated conspiracy and scheme to defraud and engage in the interstate transportation of

stolen goods that lasted for approximately 10 years and resulted in more than $3.5 million in actual

losses.

          Unlike some fraud and interstate transportation cases likely handled by this Court, the

conspiracy to defraud and engage in interstate transportation of stolen goods was essentially

undetected—despite the large losses involved—because Chawla primarily purchased the items

from individuals with “insider” access to the goods and merchandise, such that they could steal

the items and sell them to Chawla without detection.

          His crimes resulted in harm to numerous individuals and businesses throughout the United

States, financial harms that went back so far in time that many victims could not be contacted by

the government, and for those companies that the government was able to contact/received a

response, insufficient records often existed for victims to determine the full financial harm they

suffered. Nevertheless, through good investigation, federal agents were able to determine, and

Chawla has now stipulated, that for almost a full decade (2009-2019), Chawla purchased extensive

quantities of stolen goods (over $3.5 million) from two particular individuals, defendants Kristy

Stock and Joseph Kukta. See United States v. Stock, Crim. No. CCB-19-309; United States v.

Kukta, Crim. No. CCB-19-614. 2




1
        The parties agreed to an extensive written factual stipulation as part of the defendant’s
guilty plea.
2
        The government has evidence that Chawla purchased stolen goods and merchandise from
other individuals beyond Stock and Kukta, including one person who was prosecuted in another
federal district, but has determined that the additional stolen items would not result in a loss
amount exceeding the next guidelines loss threshold of $9.5 million.
                                                 2
         Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 3 of 13

       Chawla purchased Apple products from Stock from 2012 to 2018. 3 Stock was a public

school employee in New Mexico and had access to her school district’s supply of iPods intended

to be used by underprivileged Native American children in New Mexico. Chawla initially

purchased the Apple items from Stock on eBay, and they later dealt directly with each other, in

emails, texts, and phone calls. Stock repeatedly advised Chawla of the items she had obtained,

providing details such as the model, color and number of Apple products available. Chawla and

Stock then negotiated a price, and Stock shipped the items to Chawla’s relative on the Eastern

Shore in Maryland. Chawla paid Stock through PayPal. In November 2018, Stock mentioned in

a recorded phone call with Chawla how she had obtained 30 iPods from her school district’s

inventory. She asked if Chawla wanted all of them. Chawla answered without hesitation: “Uh,

yeah, definitely.”

       Chawla then resold the electronics online—primarily through eBay—at significant

markups. The online listings created by Chawla did not warn the online purchasers that they were

purchasing stolen goods, and the prices were generally set slightly below the prices for comparable

items on online marketplaces. Chawla had his relative in Maryland receive the stolen goods and

ship them to the unsuspecting purchasers. Chawla ended up paying Stock more than $450,000,

and reselling those items for more than $625,000, generating a significant profit. 4 ECF 8 at 16.

       During the same approximate time period (2009-2019), Chawla “purchased large

quantities of stolen goods and merchandise from Kukta.” ECF 8 at 17. “Kukta obtained most of

the goods and merchandise he sold to Saurabh from bulk purchases shipped via FedEx and

intended for delivery to FedEx customers, including a Walmart Distribution Center in Smyrna,



3
       As set forth in the factual stipulation, the sales occurred from 2012-2013, and then
resumed from 2015 to 2018.
4
       Some of the items from Stock were likely resold in other channels outside eBay and
therefore are not reflected in the $625,000 figure.
                                                3
         Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 4 of 13

Delaware.” Id. Kukta was able to steal the goods in such a way that FedEx never detected the

crime, and Kukta then delivered the stolen goods and merchandise to Chawla’s relative in

Maryland. Kukta sent Chawla “weekly lists of available goods and merchandise,” and Chawla

typically paid “50% of the retail price for the goods and merchandise Kukta had stolen.” Id.

Chawla knew that Kukta worked at the FedEx facility in Seaford, Delaware. ECF 8 at 17. As

with Stock, Chawla “offered to sell and sold the goods and merchandise from Kukta to eBay

customers at significant markups (often [a] 100% price increase)” versus the price Chawla “had

paid for the products.” Id. at 17. “In total, Saurabh paid Kukta more than $1.5 million for goods

and merchandise” that Chawla resold for “more than $3 million.” Id.

       In 2019, as part of the government’s covert investigation, Chawla purchased items that he

believed were stolen from another school district in New Mexico. Chawla did not hesitate to go

ahead with the purchases, despite having been warned in November 2018 that the iPads had been

obtained by the [undercover agent’s] school district with federal money. In a recorded call on

March 12, 2019, the undercover agent explicitly talked about how he “had been stealing about one

of these a day, these iPads,” but was worried about being “caught.” Chawla nevertheless

proceeded to buy the stolen iPads, have them shipped to Chawla in Colorado, and resold them

“online through eBay at a substantial markup.” ECF 8 at 16.

       Chawla knowingly resold the stolen goods and merchandise at substantial markups week

after week for years. Chawla maintained extensive online listings of the available stolen goods

and merchandise. To give the Court a sense for how extensive Chawla’s operation was, the

government has created an exhibit showing the Stock and Kukta related items that Chawla sold

online through eBay in or about December 2017. See Exhibit 1. As Exhibit 1 shows, in December

2017 alone, Chawla sold more than 2,000 stolen items for more than $83,000.




                                               4
         Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 5 of 13

       Needless to say, none of this illegal activity would have been possible without Saurabh’s

arrangement with Defendant Edward Bender (United States v. Bender, Crim. No. CCB-20-143)

and the person identified in the factual stipulation as Person A. As noted in the factual stipulation,

this arrangement was necessary because eBay and Amazon had “suspended the other accounts

used by Saurabh and his relatives.” ECF 8 at 15. Bender received compensation of approximately

$10,000 per year in return for Bender and Person A acting as a straw owners of eBay “stores” or

online marketplaces used by Chawla.

       Although the online marketplaces were listed in the names of Bender and Person A, Chawla

logged in directly and operated the marketplaces and the linked PayPal account. In order for the

scheme to work, Saurabh, Bender and Person A had to deceive online marketplaces such as

Amazon and eBay about the online sales and origin of the products offered for sale to avoid

detection. They also had to deceive PayPal about the substantial flow of money stemming from

the online resales of stolen goods and merchandise. ECF 8 at 15.

       Chawla involved other persons in his deceptions. Chawla had Kukta “create a fake invoice

[with] false information about . . . the transaction and the price paid per unit.” Id. Chawla also

recruited a friend of his to help with “creat[ing] ‘dummy invoices,’ which Chawla then had his

relative send to eBay. Saurabh directed Bender and Person A to misrepresent that Apple products

had been obtained using gift cards at large retailers.” Id.

       When eBay customers complained, Chawla worked with Bender “to provide the eBay

customers with false, fraudulent, and fictitious invoices, falsely showing how items sold . . . had

been originally acquired.” Id. at 16. In a January 2015 email, Chawla sent a fake invoice to Bender

to support such lies about the sourcing of the offered goods, writing “Double check it, but I think

it looks clean.” The subject line of Chawla’s email referenced a “forged invoice.”




                                                  5
           Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 6 of 13

         Collectively, Chawla’s crimes led to more than $3.5 million in actual losses, including to

(i) Stock’s New Mexico school district (Central Consolidated School District); (ii) Walmart; (iii)

Nite Ize Inc.; (iv) Nike, Inc.; (v) FedEx; and (vi) numerous other producers and distributors (some

small and some large corporations) throughout the United States. ECF 8 at 16. And Chawla

actually “obtain[ed] more than $3.5 million from online sales of stolen goods and merchandise.”

Id. As an indication of how lucrative Chawla’s crimes were for him personally—unlike in most

cases this Court handles—the government seized almost $2 million in liquid assets from Chawla

when it executed search and seizure warrants in this case. ECF 8 at 8. In addition to these assets,

Chawla owned an expensive Colorado home and luxury vehicles. Id.

         Chawla failed to declare millions in income during the years in question, and engaged in

affirmative acts to conceal his income, resulting in the tax evasion charge and a sizeable tax loss

to the United States. As noted in the factual stipulation, Chawla’s tax offenses involved “the 2009-

2017 tax years.” ECF 8 at 17. Chawla fraudulently inflated his company’s cost of goods sold, 5

thereby lowering the taxable income. For example, for the 2015, 2016, and 2017 tax years,

respectively, Chawla reported taxable income of $79,593, $71,953, and $94,892, when it should

have been $319,077, $278,735, and $366,813. These were large deceptions, resulting in a tax loss

to the United States of more than $700,000. ECF 8 at 19.

The Advisory Sentencing Guidelines Calculation

         Based on Chawla’s plea agreement, the government submits that the following advisory

sentencing guidelines calculations are undisputed:

       Base Offense Level = 6 (USSG § 2B1.1(a)(2))
       Adjustment based on financial loss of more than $3.5 million: +18 (USSG § 2B1.1(b)(1)(J))
       Adjustment based on 10 or more victims: +2 (USSG § 2B1.1(b)(2)(A))


5
      On his tax returns, Chawla claimed to have paid substantially more for the stolen goods
and merchandise than he had actually paid to Stock, Kukta, and others.
                                                 6
         Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 7 of 13

    Adjustment based on sophisticated means: +2 (USSG § 2B1.1(b)(10)(C))
    Adjustment for being an Organizer, Leader, Manager, or Supervisor: +2 (USSG § 3B1.1(c))

       USSG Section 2B1.1(B)(4) - In The Business Of Buying And Selling Stolen Property

       The plea agreement also contemplated a dispute between the parties regarding the two level

adjustment found in USSG Section 2B1.1(b)(4), involving a determination of whether the

defendant was in the business of buying and selling stolen property.

       The government submits that the presentence report correctly applied this adjustment. See

PSR, ECF 16, at ¶ 85. As the government noted in response to the presentence report, the relevant

caselaw in this Circuit strongly supports the disputed adjustment. See United States v. White, 77

F. App’x 678, 682 (4th Cir. 2003) (upholding application of enhancement based on proof defendant

“was involved in purchasing stolen property numerous times over the course of six to eight years,”

bought stolen goods from “several different people,” and “purposely bought items well below fair

market value”); United States v. Camara, 908 F.3d 41, 50 (4th Cir. 2018) (purchasing two vehicles

at “steep discounts” when the vehicles were worth over $250,000 and fraudulently registering them

was sufficient to apply enhancement); United States v. Delegate, No. 1:05CR567, 2006 WL

897215, at *2 (E.D.V.A. Apr. 4, 2006) (sufficient that defendant “fraudulently procured items and

sold those items to persons in Maryland”).

       Subsection (b)(4) has its origins in a since deleted U.S.S.G. § 2B1.2, which according to

the 1987 guidelines was originally intended to punish “[p]ersons who receive stolen property for

resale” as opposed to people such as Kukta and Stock, who took the property in the first

instance. U.S.S.G. § 2B1.2 (1987 version). Application Note 5 to § 2B1.1 provides additional

guidance, noting that courts should consider issues such as: “(A) The regularity and sophistication

of the defendant’s activities”; “(B) The value and size of the inventory of stolen goods maintained




                                                7
         Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 8 of 13

by the defendant”; “(C) The extent to which the defendant’s activities encouraged or facilitated

other crimes”; and “(D) The defendant’s past activities involving stolen property.”

       Saurabh Chawla’s activities plainly meet the intent and wording of Section

2B1.1(b)(4). The factual stipulation discusses how the defendant “routinely purchased stolen

goods from other individuals and businesses (including Stock and Kukta)” over a ten year

period. ECF 8 at 14. The factual stipulation sets forth how the defendant resold the stolen goods

through online stores and engaged in other crimes, such as the frauds on eBay and Amazon and

purchasers of the goods. Saurabh’s operation was extensive and involved significant sums of

money and lots of items. The factual stipulation sets forth how the defendant continued to

purchase and resell stolen property over time. The defendant also admitted in the factual

stipulation that he purchased the stolen property at below market value and resold the stolen items

for significantly more money.

       Thus, the government believes the Court’s guidelines calculation should include the two

levels from Section 2B1.1(b)(4). The guidelines calculation proposed by the U.S. Attorney’s

Office and the U.S. Probation Office results in a post-acceptance adjusted final offense level of

twenty-nine (29), and an advisory range of 87 to 108 months’ incarceration. 6

The Government’s Sentencing Recommendation

       The government’s proposed term of 84 months’ incarceration would constitute a

reasonable sentence pursuant to 18 U.S.C. § 3553(a), and the Supreme Court’s decision in Gall v.

United States, 552 U.S. 38, 51 (2007). It is necessary based on “the nature and circumstances of

the offense,” “the history and characteristics of the defendant,” the need to “to promote respect for

the law,” and the need for both specific and general deterrence. 18 U.S.C. § 3553(a).




6
       The government concurs that the defendant has no criminal history points.
                                                 8
         Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 9 of 13

       Chawla’s criminal conduct here was serious, long lasting, and harmful. For 10 years,

Saurabh carried out a series of calculated lies to online marketplaces, to his customers, and to the

IRS.   He brought others into his wrongdoing, including his friend that helped manipulate

documentation for submission to eBay and PayPal, his long-time friend from college, Defendant

Edward Bender, and Person A. Chawla coached others on how to create fake documents and make

false representations that benefited his scheme. At times, Chawla manipulated documents himself.

Chawla caused false information to be submitted to Amazon, eBay, PayPal, and eBay customers

so Chawla could continue to profit from the sale of stolen goods and merchandise. The financial

loss caused by this conduct was quite large (over $3.5 million), and Saurabh enjoyed tremendous

financial benefits from his crimes for almost a full decade.

       Saurabh Chawla is the most culpable defendant among the many different individuals

involved in these crimes. He led the operation and derived the most money from it. He stipulated

in his plea that he had been a manager/supervisor role in the conspiracy, that the conspiracy and

scheme to defraud had more than 10 victims, and that the conspiracy and scheme to defraud was

sophisticated.

       Chawla purchased millions of dollars of goods and merchandise from Kukta, who was in

charge of the entire FedEx facility in Delaware. Kukta supplied these goods to Chawla and

Chawla’s relative on a regular basis, stealing the goods so effectively that neither FedEx nor the

intended recipient of the shipped goods, Walmart, realized significant thefts had occurred until the

government alerted them. Although many online purchasers of the stolen goods through eBay

never realized they had been harmed by Chawla’s conduct, they all paid nearly top dollar for items

that were stolen, and at times the purchasers experienced issues because the products lacked valid

warranties (as the product of unlawful thefts), or the products could not be installed, activated, or

used correctly. The use of online marketplaces such as eBay, or the online payment processor


                                                 9
        Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 10 of 13

PayPal, which were only possible through Chawla’s deceptions, substantially increased the volume

of stolen goods, the financial harm, and the overall reprehensibility of Chawla’s crimes.

       Chawla’s greed caused him to not only knowingly purchase the stolen Apple products from

Stock that were intended for underprivileged children in New Mexico, but in 2019, Chawla jumped

at the chance to buy stolen Apple products from the undercover agent, who posed as another

corrupt government employee in New Mexico.

       It is very difficult for the government to detect this type of sly, underhanded theft and resale

through online entities. And after detection, it is even more difficult to prove a crime beyond a

reasonable doubt. The government submits that it is important to impose a sentence commensurate

with Chawla’s significant criminal conduct, not only to deter Chawla and his co-conspirators, but

also to deter others in the future from engaging in these kinds of organized schemes, and to promote

respect for the law.

Restitution & Forfeiture

       In his plea agreement, Saurabh Chawla agreed to a forfeiture of at least $3.5 million and

to the forfeiture of specific assets, which had been seized by the government pursuant to seizure

orders. See ECF 8 at 8. In a separate filing, the government is submitting a preliminary order of

forfeiture for the Court’s consideration in connection with these agreed upon forfeitures.

       In his plea agreement, the defendant also stipulated that the Court would enter a

restitution order for “the full amount of the actual losses associated with Count One, which the

parties stipulate[d] and agree[d] [wa]s at least $3.5 million.” ECF 8 at 9.

       The government has engaged in substantial efforts to identify the individuals and

companies that suffered the more than $3.5 million in actual losses so the Court could issue a

restitution order. The agents have been able to calculate the losses caused by the theft of goods

from the New Mexico school district. However, agents have had difficulty apportioning among


                                                 10
        Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 11 of 13

the victims the known losses ($3.5 million) stemming from the stolen goods and merchandise

taken from FedEx. Part of this is attributable to the duration of the scheme and insufficient past

documentation, with most victims reporting that they only have records for the last three to five

years. Another part of the difficulty stems from the way in which Kukta stole the goods and

merchandise.

       As a supervisor at the FedEx facility, Kukta had after hours and weekend access. Kukta

waited to steal items until large deliveries to a Walmart distribution center were loaded onto

FedEx trucks. Thus, FedEx did not register the thefts. When the FedEx truck arrived at the

Walmart distribution center, all the contents (including the stolen goods) were marked as

delivered because they were checked in shipment by shipment vs. box by box. Although the

government has evidence that Walmart at times made chargebacks to the original shippers when

it later realized that certain items shown as delivered were not received, more often than not,

Walmart was unaware. And even with respect to the limited chargebacks that Walmart sought,

Walmart at times absorbed the majority of the loss after the retailers showed Walmart that they

had sent the goods.

       Accordingly, despite its best efforts, the government has not been able to specifically

apportion the known loss between Walmart and the other victims stemming from the theft of

goods and merchandise from FedEx. Based on the investigation, the government submits that

Walmart likely suffered the greatest financial harm, and that its harm easily exceeded $2 million.

Nevertheless, based on its careful corporate policies, Walmart does not plan to seek restitution

absent more precise tracing of its losses. The government believes that the Court’s restitution

order is required to include the fraud restitution amount shown in Exhibit 2. The government

believes that Chawla should agree to pay the remaining portion of the stipulated $3.5 million in




                                                11
           Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 12 of 13

restitution to the Crime Victims Fund. The government further requests restitution regarding the

tax evasion to the IRS of $713,619. 7

                                            CONCLUSION

           Accordingly, the government respectfully requests that this Court sentence the Chawla

    to 84 months’ incarceration, three years of supervised release, the forfeiture and restitution

    above, and a special assessment of $300.


                                                         Respectfully submitted,

                                                         Jonathan F. Lenzner
                                                         Acting United States Attorney

                                                 By      ________/s/___________________
                                                         Harry M. Gruber
                                                         Paul Riley
                                                         Assistant United States Attorneys




7
          The defendant stipulated to this IRS restitution in the plea agreement. ECF 8 at 10.
                                                    12
       Case 1:21-cr-00107-CCB Document 18 Filed 08/27/21 Page 13 of 13

                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing filing was served on counsel for the

defendant by filing in the Court’s electronic filing system and by email.


                                                    _____/s/__________________
                                                    Harry M. Gruber
                                                    Assistant United States Attorney




                                               13
